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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

PAMELA MCCULLERS, an
individual;

              Plaintiff,                               Civil Action No.
       v.                                            1:24-cv-01496-RDP
KOCH FOODS OF ALABAMA,
LLC; KOCH FOODS OF ASHLAND
LLC; KOCH FOODS, INC.; and
FICTITIOUS PARTIES
              Defendants.

     DEFENDANTS’ OPPOSED MOTION TO DISMISS PLAINTIFF’S
       COMPLAINT AND INCORPORATED BRIEF IN SUPPORT

       Plaintiff Pamela McCullers (“Plaintiff”) filed an eight-count Complaint

against Defendants Koch Foods of Alabama, LLC; Koch Foods of Ashland LLC;

Koch Foods, Inc.; and nine fictitious parties (collectively, “Defendants”). [Doc. 1].

After a productive meet and confer session, Plaintiff has agreed to dismiss the

alleged fictitious parties.

I.     INTRODUCTION.

       In Count One, Plaintiff asserts a cause of action pursuant to Title VII of the

Civil Rights Act of 1964 (“Title VII”) for sex discrimination. However, nowhere in

the Complaint does Plaintiff allege she was treated disparately because of her

gender. In Count Two, Plaintiff asserts a sexual harassment claim pursuant to Title
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VII. However, she fails to allege she was subjected to severe or pervasive sexual

harassment.        The only sexual harassment allegation is her untimely claim of

inappropriate touching by a co-worker, an event that occurred on May 8, 2023—a

year before Plaintiff’s discharge and almost 15 months before she filed an EEOC

charge. In Count Three, Plaintiff asserts “Wrongful Termination,” a claim that is

not recognized by Alabama law (or Title VII). Counts Four and Five assert

negligence claims unsupported by Alabama law. Counts Six, Eight,1 and Nine assert

claims for vicarious liability. Vicarious Liability is a theory of liability, not a cause

of action recognized under Alabama law, as is the stray “Combining and Concurring

Conduct” allegation.

          Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants submit this

Motion to Dismiss and respectfully move this Court to dismiss Plaintiff’s Complaint

with prejudice.

II.       LEGAL ARGUMENT.

          A.     Standard of Review on Motions to Dismiss.

          The Federal Rules of Civil Procedure require that a complaint provide “a short

and plain statement of the claim showing that the pleader is entitled to relief.” Fed.

R. Civ. P. 8(a)(2). A Rule 12(b)(6) motion to dismiss for failure to state a claim upon

which relief can be granted tests whether a cognizable claim has been adequately


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    Plaintiff does not assert a cause of action labeled “Count Seven.” [Doc. 1 at 17–19].

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stated in the complaint in compliance with Rule 8(a). Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555–56 (2007). To comply with Rule 8(a)(2), a complaint must be

“plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Twombly, 550 U.S. at 570). A claim is plausible on its face where the plaintiff has

pled “factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. The plaintiff's

allegations must “give the defendant fair notice of what the ... claim is and the

grounds upon which it rests.” Twombly, 550 U.S. at 555 (quoting Conley v. Gibson,

335 U.S. 41, 47 (1957)). A court does not have to accept the legal conclusions in the

complaint as true. Iqbal, 556 U.S. at 678. “While legal conclusions can provide the

framework of a complaint, they must be supported by factual allegations.” Iqbal,

556 U.S. at 679. “Factual allegations must be enough to raise a right to relief above

the speculative level . . . on the assumption that all of the allegations in the complaint

are true.” Twombly, 550 U.S. at 555 (internal citation omitted).

      B.     Count One Should Be Dismissed because Plaintiff Fails to Allege
             Different Treatment Based on her Sex.

      To survive a Rule 12(b)(6) motion to dismiss, a complaint must “provide

enough factual matter (taken as true) to suggest intentional . . . discrimination.”

Surtain v. Hamlin Terrace Found., 789 F.3d 1239, 1246 (11th Cir. 2015) (evaluating

motion for default judgment while noting that applicable standard is “akin to that

necessary to survive a motion to dismiss for failure to state a claim”) (internal

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citation omitted); see also Henderson v. City of Birmingham, 826 F. App'x 736, 740

(11th Cir. 2020) (applying rule in the context of motion to dismiss).

      To maintain a gender discrimination claim, Plaintiff must allege facts

sufficient to support a reasonable inference that Defendants took an adverse

employment action against her based on her gender. Berry v. Crestwood Healthcare

LP, 84 F.4th 1300, 1310 (11th Cir. 2023). In short, Plaintiff must do “more than

state that [she] was in a protected class and that [she] suffered adverse employment

decisions.” Carpenter v. Cnty. Sch. Bd., 107 Fed. Appx. 351, 351–52 (4th Cir. 2004).

Plaintiff’s Complaint does nothing more than that. She fails to allege any proper

comparators, does not allege she was treated disparately compared to any similarly

situated male employees, and does not allege any allegations of statements that

would provide evidence of any intent to discriminate against her based on her

gender.

      In addition, Plaintiff fails to assert any allegation that she suffered any adverse

employment action because of her gender. Plaintiff generally avers that “other

employees” were allowed to be work unsupervised in their office, she was “the only

nurse disciplined for not having supervision in the nurse [sic] office,” and that her

supervisor transferred the “night safety employee” to “make the job easier on the

day shift nurses.” [Doc. 1 at 8–9 (¶¶ 19–21)]. None of these allegations establish

that any of the alleged individuals who were treated differently are male. Plaintiff


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complains of treatment by her supervisor, Tasha Hanners, who is also a woman. She

further claims that Hanners and “Peggy,” two women, “were making her job

impossible.” [Doc. 1 at 11 (¶ 28)]. Allegations that women supervisors were

allegedly mistreating Plaintiff provide no inference of gender discrimination.

      Moreover, although Plaintiff alleges that she was subjected to “retaliation” in

Count One of her Complaint, she neither asserts a retaliation cause of action nor

pleads the elements necessary to support a Title VII retaliation claim. A Title VII

retaliation claim requires Plaintiff to show she (1) engaged in a statutorily protected

activity, (2) suffered an adverse employment action, and (3) there is a causal relation

between the events. See, e.g., Adams v. City of Montgomery, 569 F. App’x 769, 772

(11th Cir. 2014). The only alleged activity protected by Title VII asserted in

Plaintiff’s Complaint is her report of an alleged inappropriate touching by a male co-

worker on May 8, 2023. [Doc. 1 at 7 (¶ 17)]. Although Plaintiff uses the term

“retaliation” throughout her Complaint, no other alleged report or complaint regards

any alleged Title VII violation. See Valdes v. Miami-Dade Coll., 463 F. App'x 843,

846 (11th Cir. 2012) (categorizing plaintiff’s complaint of being overworked to

defendant’s human resources as a workplace complaint “unrelated to Title VII”);

Brush v. Sears Holdings Corp., 466 F. App'x 781, 787 (11th Cir. 2012)

(“Disagreement with internal procedures does not equate with ‘protected activity’

opposing discriminatory activity.”); Wheatfall v. Bd. of Regents of Univ. Sys. of Ga.,


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9 F. Supp. 3d 1342, 1354 (N.D. Ga. 2014) (“[T]he Eleventh Circuit’s case law makes

clear that the anti-retaliation provision [of Title VII] does not protect plaintiffs who

oppose conduct that cannot reasonably constitute discrimination . . . .”).

      As for alleged the alleged protected activity on May 8, 2023, this report

occurred almost a year before Plaintiff’s discharge, and as such, it cannot be the basis

for a cognizable retaliation claim based on the termination of her employment. See

Walker v. Sec'y, U.S. Dep't of Air Force, 518 F. App'x 626, 628 (11th Cir. 2013)

(finding no temporal proximity and thus no causal connection when there was a

three-month interval between plaintiff’s “outspoken comments” to a supervisor and

his subsequent denial of a promotion); Henderson v. FedEx Express, 442 F. App’x

502, 506 (11th Cir. 2011) (“If there is a delay of more than three months between

the two events, then the temporal proximity is not close enough, and the plaintiff

must offer some other evidence tending to show causation.”); Brown v. Ala. Dep't of

Transp., 597 F.3d 1160, 1182 (11th Cir. 2010) (finding an insufficient causal

connection when there was a three-month gap between the protected activity and

subsequent adverse employment actions); Thomas v. Cooper Lighting, Inc., 506 F.3d

1361, 1364 (11th Cir. 2007) (“A three to four month disparity between the statutorily

protected expression and the adverse employment action is not enough.”).

      Plaintiff alleges no other materially adverse action for purposes of a retaliation

claim following the alleged May 2023 report of inappropriate touching by a co-


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worker. See Crawford v. Carroll, 529 F.3d 961, 974 (11th Cir. 2008) (recognizing

that under Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006), in the

context of a Title VII retaliation claim, a materially adverse action “means it well

might have dissuaded a reasonable worker from making or supporting a charge of

discrimination”). As such, Plaintiff failed to present sufficient allegations evidencing

retaliatory treatment for the alleged May 2023 report, which is otherwise time-

barred. See infra. § II.C.

      At bottom, Plaintiff’s largely conclusory allegations do not assert different

treatment because of her sex, and they likewise do not reasonably suggest intentional

discrimination. See Berry, 84 F.4th at 1310; Surtain, 789 F.3d at 1246; Henderson,

826 F. App'x at 740. Plaintiff’s allegations do not rise to the pleading standards

necessary to survive the present Rule 12(b)(6) motion. See Twombly, 550 U.S. at

555; Iqbal, 556 U.S. at 679.

      C.     Count Two Should Be Dismissed because Plaintiff Does Not Allege
             Sufficiently Severe and Pervasive Harassment.

      Plaintiff also fails to state a Title VII hostile work environment claim based

on her sex because she has not alleged facts that, if true, plausibly infer the

complained of conduct was sufficiently severe and pervasive. To consider whether

harassment is severe or pervasive, courts consider the frequency of the conduct, the

severity of the conduct, whether the conduct is physically threatening or humiliating

as opposed to a mere offensive utterance, and whether the conduct unreasonably

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interfered with the employee’s job performance. Harris v. Forklift Sys., Inc., 510

U.S. 17, 23 (1993) (abrogated on other grounds by Burlington Indus., Inc. v. Ellerth,

524 U.S. 742 (1998)); McMillan v. Postmaster Gen., U.S. Postal Serv., 634 F.

App’x. 274, 277 (11th Cir. 2015). “Title VII is not a general civility code, and simple

teasing[,] offhand comments, and isolated incidents . . . do not constitute a hostile

work environment.” Guthrie v. Waffle House, Inc., 460 F. App’x 803, 806 (11th Cir.

2012) (distinguishing cases that did not state a claim where a few dozen comments

or actions were spread out over an 11-month period from actionable cases where

comments were made daily or several times a day).

      Additionally, a plaintiff cannot transform discrete incidents or adverse

employment actions, without more, into a hostile work environment claim. See Nat’l

R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 114–16 (2002) (explaining that,

unlike “[d]iscrete acts such as termination, failure to promote, denial of transfer, or

refusal to hire,” a hostile work environment claim addresses acts whose “very nature

involves repeated conduct,” such as “discriminatory intimidation, ridicule, and

insult”). Importantly, “isolated incidents (unless extremely serious) will not amount

to discriminatory changes in the terms and conditions of employment.” Knotts v.

Univ. of N.C. at Charlotte, 2011 WL 650493, at *7 (W.D.N.C. Feb. 10, 2011) (citing

Faragher v. Boca Raton, 524 U.S. 775, 788 (1998)). Workplace disputes regarding

workloads and reassignments, without more, do not constitute actionable


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harassment. See id. at *7–8.      Rather, a plaintiff must be able to show that her

“workplace is permeated with discriminatory intimidation, ridicule, and insult that

is sufficiently severe or pervasive to alter the conditions of [her] employment and

create an abusive work environment . . . .” Oncale v. Sundowner Offshore Servs.,

523 U.S. 75, 78 (1998) (citation omitted).

      Plaintiff’s Complaint alleges only workplace disputes—it does not allege a

cognizable claim of sexual harassment. The only allegation that could be interpreted

as an allegation of harassment because of sex is Plaintiff’s claim of an inappropriate

touching by a co-worker in May 2023. [Doc. 1 at 7 (¶ 17)]. However, even if this

allegation arises to the level of severe or pervasive sexual harassment, which clearly

it does not, it was a discrete event and Plaintiff failed to timely file a charge of

discrimination.    A charge of discrimination must be filed with the Equal

Employment Opportunity Commission within 180 days of the alleged sexual

harassment. 42 U.S.C. § 2000e-5(e). Plaintiff asserts in her Complaint that she did

not file a charge of discrimination with the EEOC until August 2024, almost 15

months after the alleged harassment occurred. [Doc. 1 at 12 (¶ 30)].

      D.     Count Three Should Be Dismissed Because the At-Will Doctrine
             Bars Plaintiff’s Wrongful Termination Claim.

      Count Three of Plaintiff’s Complaint brings a cause of action for “Wrongful

Termination.” [Doc. 1 at 14]. Plaintiff does not specify any law her alleged

termination allegedly violated. [Id.]. “To the extent plaintiff intends to assert a state

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law tort claim for wrongful termination, that claim is barred by the Alabama doctrine

of employment-at-will.” Pruitt v. Charter Commc'ns, 2019 WL 1199837, at *8

(N.D. Ala. Mar. 14, 2019), aff'd sub nom. Pruitt v. Charter Commc'ns, Inc., No. 21-

10049, 2022 WL 424875, at *3 (11th Cir. Feb. 11, 2022) (citing Barton v. Ala.

Electric Co-op., Inc., 487 So. 2d 884, 885 (Ala. 1986)). “[I]n the absence of a

contract calling for employment for a particular length of time, any wrongful

termination claim is barred by Alabama's employment-at-will doctrine.” Barton, 487

So. 2d at 885 (citation omitted). Plaintiff’s Complaint does not allege an employment

contract for a particular length of time; thus, her wrongful termination claim must

be dismissed.

      E.     Count Four Should be Dismissed because Plaintiff’s Negligence
             Claim is Largely Subsumed by Title VII and Otherwise Fails to
             Establish Recognized Legal Duties Under Alabama Law.

      Plaintiff’s negligence claim cannot survive a Rule 12(b)(6) analysis. A

plaintiff bringing a negligence cause of action must allege four elements: (1) duty,

(2) breach, (3) causation, and (4) damages. See, e.g., Martin v. Arnold, 643 So. 2d

564, 567 (Ala. 1994) (citing Albert v. Hsu, 602 So. 2d 895, 897 (Ala. 1992)). “The

existence of a legal duty is a question of law for the court; ‘where there is no duty,

there can be no negligence.’” Albert, 602 So. 2d at 897 (citing Rose v. Miller & Co.,

432 So. 2d 1237, 1238 (Ala. 1983)).




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      Title VII subsumes Plaintiff’s negligence claims. See James v. Montgomery

Reg'l Airport Auth., 2016 WL 4414843, at *2 (M.D. Ala. June 16, 2016), report and

recommendation adopted, 2016 WL 4435687, at *1 (M.D. Ala. Aug. 17, 2016)

(dismissing plaintiff’s negligence claim premised upon racial discrimination against

defendant-employer because, inter alia, “Congress passed Title VII precisely

because existing common-law mechanisms for preventing workplace discrimination

were inadequate”) (internal citation omitted); Vernon v. Medical Mgmt. Assocs. of

Margate, Inc., 912 F. Supp. 1549, 1563–64 (S.D. Fla. 1996) (dismissing a plaintiff's

claim for negligent retention and negligent supervision because the underlying

misconduct alleged in the portion of the complaint that sought relief for negligent

supervision or retention was merely sexual harassment); Yeary v. State of Fla. Dept.

of Corrs., 1995 WL 788066, at *2 (M.D. Fla. 1995) (dismissing negligence claim

based upon employer’s alleged failure to adequately supervise its employees or

undertake an investigation in response to sexual harassment complaint).

      To the extent any negligence claim asserted by Plaintiff is not subsumed by

Title VII, Plaintiff does not allege any breach of a duty recognized by Alabama law.

Plaintiff’s Complaint alleges Defendants breached their alleged duties of care to

Plaintiff in five specific ways: (1) “[f]ailing to use and apply employment policies

to protect employees from retaliation for protection actions, such as reporting sexual

harassment;” (2) “[f]ailing to take adequate corrective action or preventive action;”


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(3) “[f]ailing to provide a safe working environment for employees;” (4) “[f]ailing

to maintain records and documentation to prevent the rehiring of prior employees

who created an unsafe working environment;” and (5) “[f]ailing to implement

policies and procedures that effectively allow employees to report concerns and

receive a timely response.” [Doc. 1 at 16 (¶ 50)]. 2

       Alabama does not recognize any duty for an employer to implement

employment policies, respond properly to alleged complaints of alleged harassment

or discrimination, provide a workplace safe from any alleged harassment or

discrimination, or to maintain employment records or documents. See, e.g.,

Stevenson v. Precision Standard, Inc., 762 So. 2d 820, 825 (Ala. 1999) (discussing

investigating sexual harassment claims and determining the Supreme Court of

Alabama “decline[d] to extend [its] holdings to recognize a cause of action based on

an employer’s negligence or wantonness in investigating a claim, independent of

proof of wrongful conduct of an employee.”).

       Moreover, under Alabama law, all “actions for any injury to the person or

rights of another not arising from contract and not specifically enumerated in this

section must be brought within two years.” Ala. Code § 6-2-38(l). Plaintiff filed her


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  Plaintiff also alleges a catchall breach of duty: “[o]ther acts of negligence to be determined
through discovery,” which is too vague to survive the present Rule 12(b)(6) motion. [Doc. 1 at 16
(¶ 50)]. See Iqbal, 556 U.S. at 678 (2009) (“A pleading that offers ‘labels and conclusions’ or ‘a
formulaic recitation of the elements of a cause of action will not do.’ . . . Nor does a complaint
suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’”) (quoting Bell
Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 557 (2007)) (internal citations omitted).

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Complaint on November 1, 2024, thus any allegations relating to her negligence

claim predating November 1, 2022, are time-barred. [Doc. 1 at 4–7 (¶¶ 7–15)]. To

the extent Plaintiff relies on the time-barred allegations in paragraphs 7–15 in her

Complaint, she cannot do so. The remaining, limited allegations purportedly

underlying her negligence claim do not adequately support the cause of action.

       In sum, Plaintiff’s negligence claim fails to state a claim upon which relief

can be granted, and this Court should dismiss it.

      F.     Count Five Should be Dismissed because Plaintiff’s Negligent
             Hiring, Training, Retention, and Supervision Claim Does Not
             Allege an Allegedly Incompetent Employee Committed an
             Underlying Tort.

      Plaintiff’s Count Five inadequately pleads her negligent hiring, retention,

training, and supervision claim. “[T]o prove a claim under Alabama law for . . .

negligent hiring, negligent supervision or negligent retention, a plaintiff must

demonstrate that the employer knew, or in the exercise of ordinary care should have

known, that its employee was incompetent.” Clisby v. HP Inc., No. 2:21-CV-01147-

AKK, 2022 WL 1063243, at *9 (N.D. Ala. Apr. 8, 2022) (quoting Buckentin v.

SunTrust Mortg. Corp., 928 F. Supp. 2d 1273, 1288 (N.D. Ala. 2013)). “In order to

establish a claim against an employer for negligent supervision, training, and/or

retention, the plaintiff must establish that the allegedly incompetent employee

committed a common-law, Alabama tort.” Hand v. Univ. of Ala. Bd. of Trs., 304 F.

Supp. 3d 1173, 1183 (N.D. Ala. 2018) (quoting Thrasher v. Ivan Leonard Chevrolet,

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Inc., 195 F. Supp. 2d 1314, 1320 (N.D. Ala. 2002)). “Alabama law does not

recognize a cause of action against a supervisor for that supervisor’s negligent

training or supervision or a subordinate.” Id. at 1183 (citing Doe v. City of

Demopolis, 799 F. Supp. 2d 1300, 1312 (S.D. Ala. 2011)).

         Plaintiff’s Count Five does not allege an employee committed an underlying

tort causing Plaintiff injury. Instead, the three-paragraph cause of action legally

concludes “Defendants negligently hired, retained, trained, and/or supervised the

supervisors, managers, human resources employees, and other Koch Foods

employees who interacted with Plaintiff,” and as a “direct and proximate result of

said negligent hiring, retention, training, and supervision, Plaintiff has suffered

humiliation, degradation, emotional distress, other consequential damages, and lost

wages.” [Doc. 1 at 17 (¶¶ 52–54)]. These legal conclusions further fail to allege some

specific employee(s) of some Defendant(s) who allegedly committed any specific

underlying tort. [Id. at 17 (¶¶ 52–54)]. This Court should dismiss Plaintiff’s Count

Five.

         G.    Counts Six, Eight, and Nine Should Be Dismissed because
               Vicarious Liability is Not a Standalone Cause of Action.

         Vicarious liability “is not a cause of action.” Billingsley v. Mike Schmitz Auto.

Grp., Inc., 2014 WL 4230012, at *2 n.3 (M.D. Ala. Aug. 26, 2014). It is a theory of

liability, which is distinct from a cause of action. Wells v. Baity Bros. Trucking, Inc.,

2021 WL 9565488, at *5 (N.D. Ala. June 11, 2021). Alabama common law provides

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that under the doctrine of vicarious liability, an “employer [may be] vicariously

liable for acts of its employee that were done for the employer's benefit, i.e., acts

done in the line and scope of employment or for acts done for the furtherance of the

employer's interest.” Potts v. BE & K Const. Co., 604 So. 2d 398, 400 (Ala. 1992).

      Counts Six, Eight, and Nine of Plaintiff’s Complaint are “Vicarious Liability

(Actual Agency,” “Vicarious Liability (Apparent Agency),” and “Vicarious

Liability (Joint Venture),” respectively. [Doc. 1 at 17–22 (¶¶ 55–72)]. Plaintiff’s

improperly pled theories of liability do not attempt to hold any Defendant-employer

liable for any employee’s “acts done in the line and scope of employment or for acts

done for the furtherance of the employer's interest.” Potts, 604 So. 2d at 400. [Doc.

1 at 17–22 (¶¶ 55–72)]. Instead, Plaintiff’s theories of liability attempt to hold

Defendants liable for “breach[ing] their duty of care to Plaintiff in numerous ways.”

[Id.]. Regardless, vicarious liability is a theory of liability rather than a cause of

action and should thus be dismissed pursuant to Rule 12(b)(6).

      Similarly, the Complaint’s stray heading and lone allegation regarding

“Combining and Concurring Conduct” [Doc. 1 at 23] does not state a plausible claim

for relief under Alabama law. See Southall v. Allstate Vehicle and Prop. Ins. Co.,

No.: 2024 WL 3183228, at *5 (S.D. Ala. June 26, 2024) (holding the complaint’s

cause of action for combined and concurring conduct “does not state a plausible

claim for relief that is cognizable under Alabama law”) (internal citation omitted).


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“The court is not aware of an independent cause of action under Alabama law for

combined injury. As a result, the court does not treat this allegation as an

independent cause of action . . . .” Steel v. Viscofan USA, Inc., 2017 WL 253960, at

*1 n.2 (M.D. Ala. Jan. 19, 2017). Like the misplead causes of action for vicarious

liability, this Court should dismiss the Complaint’s attempt to allege combining and

concurring conduct.

III.    CONCLUSION.

        Plaintiff’s Complaint fails to state any cognizable claim under Title VII.

Moreover, her alleged claims of wrongful termination and negligence are not

recognized under Alabama law, and her negligent hiring, retention, training, and

supervision claim has no leg to stand on. Finally, her claims of vicarious liability

and combining and concurring conduct are theories of liability, not free-standing

claims. Because Plaintiff fails to state any claim upon which relief may be granted,

this Court should grant Defendants’ Motion to Dismiss with Prejudice.

        WHEREFORE, Defendants respectfully request that this Court enter an Order

Dismissing with Prejudice Plaintiff’s Complaint.




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                                        Respectfully submitted,



                                        s/Janell M. Ahnert
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                       CERTIFICATE OF SERVICE

      I hereby certify that, on January 6, 2024, a true and correct copy of the
foregoing pleading was filed with the Court using the CM/ECF filing system and
mailed via U.S. Mail to the following:

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                                       s/Janell M. Ahnert
                                       OF COUNSEL




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